                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

JOHN DOE,                                    )
                                             )
        Plaintiff,                           )         NO. 1:18-cv-00084
                                             )
v.                                           )         JUDGE RICHARDSON
                                             )
DAVID BYRD, et al.,                          )
                                             )
        Defendants.                          )


                                          ORDER

       In light of the filing of Plaintiff’s First Amended Complaint (Doc. No. 33), the pending

Motions to Dismiss (Doc. Nos. 23 and 30) are DENIED as moot, because they no longer address

the operative Complaint.

       IT IS SO ORDERED.



                                                   ___________________________________
                                                   ELI RICHARDSON
                                                   UNITED STATES DISTRICT JUDGE




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